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United States District Court
District of Massachusetts

Robert Nightingale,
on behalf of himself and all others
Similarly situated,

Civil Action No.
19-12341-NMG

Plaintiff,
Vv.

National Grid USA Service Company,
Inc., et. al,

Defendants.

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MEMORANDUM & ORDER
GORTON, J.

This putative class action involves allegedly badgering
phone calls made to debtors in excess of the number of calls
allowed by state regulations. Pending before the Court are the
motions of plaintiff, Robert Nightingale (“plaintiff”) 1) to
certify a question of law to the Massachusetts Supreme Judicial
Court (“SJC”) pursuant to Mass. S.J.C. R. 1:03 and 2) for class
certification pursuant to Fed. R. Civ. P. 23(b) (3). For the
following reasons, both motions will be denied.

I. Background

As this Court outlined in a previous memorandum and order,
National Grid USA Service Company, Inc. (“National Grid”) is a
supplier of electricity, natural gas and energy. It hired

defendants, iQor US Inc. (“iQor”) and its subsidiary First

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Contact LLC (“First Contact”) (collectively, defendants), to
conduct debt collection services for National Grid.

Plaintiff alleges that he incurred a debt to National Grid
for utility services. Between June 20 and June 23, 2018, he
contends that defendants called his cellphone five times
regarding that outstanding debt which caused him emotional
distress, invaded his privacy and wasted his time.

In October, 2018, plaintiff filed suit against National
Grid in Massachusetts Superior Court on behalf of a putative
class of consumers similar situated. Defendants removed the
action to this Court pursuant to the Class Action Fairness Act,
28 U.S.C. §1453(b). Plaintiff moved for class certification,
which this Court denied, and sought to certify a question of law
to the Massachusetts Supreme Judicial Court (“SJC”), which the
Court ultimately did not address. This Court subsequently
allowed defendant’s motion for summary judgment, finding that
plaintiff had not stated a cognizable claim.

On appeal, the First Circuit Court of Appeals (“the First
Circuit”) reversed this Court’s allowance of summary judgment,
concluding that plaintiff had provided sufficient evidence of an
injury. The First Circuit also reversed this Court’s denial of
class certification and remanded the case for further

proceedings consistent with its decision. Now, on remand from
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the First Circuit, plaintiff renews his requests for class
certification and to certify a question of law to the SJC.

It. Motion to Certify Question of Law to the SJC

The SJC permits a federal court, including a district
court, to certify a question of law to it whenever there is a
question of state law 1) that is determinative of the cause of
action pending before this Court and 2) upon which there is no

controlling precedent. Mass. S.J.C. R. 1:03; Easthampton Sav.

Bank v. City of Springfield, 736 F.3d 46, 50 (lst Cir. 2013).

The area of law in which plaintiff seeks clarification is
the Massachusetts Consumer Protection Act, Mass. Gen. L. 93A,
§2(a) et seq. Under §2(a), businesses are forbidden from
engaging in “[u]nfair or deceptive acts or practices in the
conduct of any trade or commerce.” By regulation, §2(a) has
been interpreted to include contacting a debtor by telephone or
other electronic means “in excess of two such communications in
each seven-day period.” 940 Mass. Code Regs. § 7.04(1)(£). When
a debt collector violates §2(a) in that manner, the Attorney
General may bring enforcement actions against any person it
believes to be in violation of the regulation, regardless of
whether the violation resulted in harm. See id. §4.
Alternatively, an individual consumer may bring a private cause

of action if that individual was “injured.” See id. §9.
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Plaintiff seeks certification to address the question of
whether collection calls that were initiated in violation of the
regulation but not received by the debtor constitutes an
“injury” that can form a basis for a private cause of action
under §9. Plaintiff asserts that the First Circuit incorrectly
implied that it does not and that such a conclusion conflicts
with SJC precedent. After careful consideration of the parties’
arguments and briefing, however, the Court finds that it is
unnecessary to certify plaintiff’s proposed questions of law to
the SJC in this case.

The First Circuit has already addressed the SJC’s precedent
with respect to what constitutes an injury. In answering the
question of law at issue here, the First Circuit did not, as
plaintiff suggests, limit the application of Section 2 of
Chapter 93A only to calls that one “receives.” Taken as a
whole, the First Circuit decision concludes that a debt
collector violates section 2 by

fiJnitiating a communication with any debtor via telephone,

either in person or via text messaging or recorded audio

message, in excess of two such communications in each
seven-day period

but a cause of action arises only when a consumer “has been

injured” by that violation. See Nightingale v. Nat’l Grid USA

Serv. Co., 107 F.4th 1, 5 {1st Cir. 2024) (quoting Tyler v.

Michaels Stores, Inc., 984 N.&.2d 737, 744-45 (Mass. 2013)).

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Applying that definition, the First Circuit held that “receipt
of unwanted communications [could result in] a cognizable
privacy-related injury under section 9.” Id.

That conclusion of the First Circuit does not conflict with

SJC precedent, including the decision in Armata v. Target Corp,

99 N.E.3d 788 (2018). There, the SJC dealt principally with the
meaning of “initiating” and when the initiation of an
incompleted phone call can amount to a violation of §2(a). See
id. at 797. Armata did not, however, alter the separate
requirement that the initiated communication must result in
injury, as both the First Circuit and the SJC have recognized.

See Nightingale, 107 F.4th at 5. The more analogous case

regarding injury is Tyler. There, the SJC indicated that a
violation of §2(a) must accompany a separate injury under §9.
Id. (citing Tyler, 984 N.E.2d at 745-46). The mere initiation
of a call that would violate §2(a) does not automatically result
in an actionable “injury” under §9. Id.

The question plaintiff seeks to certify directly conflicts
with that aspect of Tyler. He would have this Court ask the SJC
whether there can be a per se violation of §2(a) by the
initiation of more than two calls in a seven-day period, thereby
constituting an “injury” under §9. As the First Circuit
recognized the SJC has, however, already answered that question

in the negative. See, e.g., Rawan v. Cont’l Cas. Co., 136 N.E.3d

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327, 343 (Mass. 2019) (citing Tyler and concluding that Chapter
93A claim was not actionable even though there had been
questionable business practice based upon lack of evidence of

resulting injury); Bellermann v. Fitchburg Gas & Elec. Light

Co., 54 N.E.3d 1106, 1111 (Mass. 2016) (citing Tyler and
rejecting class action because plaintiffs failed to indicate

separate, identifiable harm resulted from the unlawful business

practice alleged); see also, e.g., Shaulis v. Nordstrom, Inc.,

865 F.3d 1, 8, 11, 13 n.5 (1st Cir. 2017) (rejecting Chapter 93A
claim as relying on the kind of “per se theory of injury the sJc

has rejected”); Mulder v. Kohl’s Dep’t Stores, Inc., 865 F.3d

17, 19, 22 (1st Cir. 2017) (restating “the SJC’s clear rule
against ‘per se’ or ‘deception-as-injury’ claims” under Chapter
93A).

Applying that precedent, other sessions of this Court have
similarly found that a violation of the applicable regulation,
unmoored from allegations of a separate injury, cannot sustain a

private cause of action under §9. See, e.g., Niedzinski v.

Cooper, No. 4:19-CV-40037-TSH, 2019 WL 4396806, at *7 (D. Mass.

Aug. 14, 2019), report and recommendation adopted sub nom.

Niedzinski v. Nationstar Mortg. LLC, No. 4:19-CV-40037-TSH, 2019

WL 4396772 (D. Mass. Sept. 11, 2019) (indicating need for
individual plaintiff to plead “more than a per se injury” under

§9 by alleging facts, for example, of “anger, anxiety, emotional

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distress, fear, frustration [or] embarrassment” from the calls
or that the calls were “distracting[,] inconvenient .. . an

invasion of her privacy [or] wasted h[is}] time and energy”); see

also, e.g., Presti v. Toyota Motor Sales U.S.A, Inc., No. 17-
10320-DJC, 2018 WL 792035, *3 (D. Mass. 2018) (rejecting Chapter
93A claim and noting that “f[a] per se theory of injury - ‘that
is, a claim that an unfair or deceptive act alone constitutes
injury’—does not suffice for a Chapter 93A claim”).

Because the First Circuit’s decision, che cases it cites
and other available precedent sufficiently define the meaning of
“injury” for purposes of a Chapter 93A claim, the Court finds no
absence of controlling precedent that would warrant
certification of a question to the SJC. See Mass. S.J.C. R.
1:03. Plaintiff’s motion to that effect will therefore be
denied.

III. Motion for Class Certification

Plaintiff further moves to certify a putative class under
Fed. R. Civ. P. 23(b). Under that rule, a plaintiff seeking
class certification must demonstrate that four factors have been
met: 1) the class is “so numerous” that joinder of ail the
members wovld be impracticable, 2) there are questions of law or
fact “common to the class,” 3) the claims cr defenses of the
representative parties are “typical of the claims or defenses otf

the class” and 4) the representative parties are able to “fairly
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and adequately protect the interests of the class.” Under Rule
23(b) (3), the putative representative must further show that 1)
the questions of law or fact in common “predominate” over those
affecting only individual members and 2) a class action is

“superior to other available methods” of adjudicating the case.

In his renewed motion for class certification in this case,
plaintiff seeks to represent the following class and subclass:

The Class - All persons residing in the Commonwealth of

Massachusetts to whom, within four years prior to the

filing of this action, (a) [d]efendants initiated in-excess

of two telephone calls regarding a debt within a seven-day
period to the person’s residence, cellular telephone, or
other provided telephone number, and (b) the person
received one of the calls.

Sub-Class - All persons residing in the Commonwealth of

Massachusetts to whom, within four years prior to the

filing of this action, (a) [d]efendants initiated in excess

of two telephone calls regarding a debt within a seven-day
period to the person’s residence, cellular telephone, or
other provided telephone number pursuant to Program Codes

NGR.USUT.FE.NERIBO or NGR.USUT.FE.NERSBO, and (b) the

person received one of the calls.

The primary concern with respect to plaintiff’s proposed
class certification, assigned to this Court to address on
remand, is whether plaintiff's proposed class satisfies the
predominance requirement of Rule 23(b).

That requirement, in turn, is dependent upon wnether the

proposed class and subclass are “sufficiently cohesive to

warrant adjudication by representation.” Amchem Prods. v.

Windsor, 521 U.S. 591, 623 (1997). The Court must be satisfied
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that it can address dissimilar class member claims in a manner

that is not “inefficient or unfair.” In re Asacol Antitrust

Litig., 907 F.3d 42, 51-52 (lst Cir. 2018) (quoting Amgen Inc.

v. Conn. Ret. Plans & Tr. Funds, 568 U.S. 455, 469 (2013)).

Two primary considerations inform the Court's predominance
analysis in this case: 1) whether the proposed class is
“ascertainable” and 2) whether all class members have “suffered

an injury-in-fact.” Loughlin v. Vi-Jon, LLC, 728 F. Supp. 3d

163, 179 (D. Mass. 2024) (citing In re Nexium Antitrust Litig.,

777 F.3d 9, 19 (1st Cir. 2015)). Although a plaintiff need not
identify every class member prior to certification, the Court
must be able to discern whether class members are included or
excluded from the class “by reference to objective criteria.”
Id. (quotations omitted). The Court must also find the class to
contain a
de minimis number of uninjured members [or, at least, that]
it will [later] be possible to establish a mechanism for
distinguishing the injured from the uninjured class
members.
Id. (quoting Nexium, 777 F.3d at 19 (alteration in original)).
Plaintiff claims that the predominance requirement has been
met here because defendants’ records can identify 1) the persons
to whom calls were made, 2) whether those persons actually

received those calls, and 3) whether those persons are debtors

of defendants. See Nightingale, 107 F.4th at 9 (indicating that

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once a plaintiff “receives excessive collection calls,” the
defendant “has caused a privacy-related injury” within the
meaning of §9). Whether the calls were particularly injurious
of one’s privacy, plaintiff argues, would go to the issue of
damages and would not negate predominance, citing the First
Circuit opinion that “additional facts showing that the calls
severely invaded {a plaintiff’s] privacy” may entitle him to
“something more than nominal damages.” Id.

Defendants rejoins that the evidence of class-wide injury
plaintiff proffers, i.e., call logs indicating when customers
received calls, does not, in itself, meet the full scope of
requirements imposed by the subject regulation. The Court
agrees that such regulatory limitations pose significant
problems for plaintiff in his effort to establish an
ascertainable class of persons who share an injury-in-fact.

As a threshold matter, the regulation limits its scope to a
“debtor.” 940 Mass. Code Regs. 7.03. For purposes of this
regulation, debtors are defined as those “residing in
Massachusetts.” Id. Plaintiff concedes that approximately 2% of
the putative class are not residents of Massachusetts and are
therefore not subject to the applicable regulation. The
definition of debtor is also limited to “natural person|[s],”
indicating that commercial debtors are exempted from the

regulation’s reach. Id. Based upon uncontroverted evidence from

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defendants’ expert, the putative class here contains both
residential and commercial accounts. Both criteria would,
moreover, require manual, individualized review before it would
be possible to ascertain the class.

The scope of the regulation is further limited to those
whose dets are “more than 30 days past due.” Id.; see 220 C.M.R.
§25.02(1); (defining debt on gas or electrical services as being
“due” no sooner than “45 days from a customer’s receipt of an
invoice”). Determining the status of a debt, and thus
ascertaining the class, would similarly require extensive,
individualized, manual review that plaintiff’s own supporting
exhibits concede would be exceedingly difficult to conduct.

Finally, the regulation excludes a creditor’s
communications, even if in excess of the restricted number of
calls, provided the communication was made “in response to a
request made by the debtor.” 940 C.M.R. §7.04(f); accord

Nightingale, 107 F.4th at 11 (indicating that “receipt of

unwanted” communication constitutes §9 injury (citing Tyler, 984
N.B.2d at 746 n.20)). Plaintiff’s response is that such
requests are uncommon but he does not explain how such persons
could be exempted from the putative class nor rebut evidence
proffered by defendants’ expert. Making that determination

becomes all the more difficult in light of the more than 53,000
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customer accounts associated with the putative class and 13,000
additional accounts associated with the putative sub-class.
Although any one of these difficulties in establishing the

putative class might not prevent certification, see, e.g., Grubb

v. Green Tree Servicing, LLC, No. CV 13-07421 (FLW), 2017 WL

3191521, at *18 (D.N.J. July 27, 2017) (certifying class even
though percent of class contained persons who were not residents

of the state); Thrower v. Citizens Disability, LLC, No. CV 20-

10285-GAO, 2022 WL 3754737, at *2 (D. Mass. Aug. 30, 2022)
(certifying class despite issues in business record accuracy),
their cumulative effect is dispositive of the predominance
requirement. Defendants have a right to litigate the many

foreseeable defenses they have under Chapter 93A. See Loughlin,

728 F. Supp. 3d at 184 (citing Nexium, 777 F.3d at 21) (denying
class certification because of the number of plausible defenses
to Chapter 93A claim defendants could raise individually against
dissimilar putative class members).

Because plaintiff cannot satisfy the predominance
requirement, without which class certification is unwarranted,
the Court need not address the other factors at issue and the

motion for class certification will be denied.

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ORDER
For the foregoing reasons, the renewed motions of
plaintiff, Robert Nightingale, for class certification (Docket
No. 127) and to certify questions of law to the Massachusetts

Supreme Judicial Court (Docket No. 132) are DENIED.

So ordered.

Nathaniel M. Gorton
United States District Judge

Dated: February /2, 2025
